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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                           CASE NO.: 9:15-cv-80972-RAR

     REGINALD EUGENE GRIMES,

           Plaintiff,
     V.

     RICHARD ROTT, et al.,

           Defendants.

     - - - - - - - - - - - - - -I
                                  VERDICT FORM

           We, the jury, return the following verdict:

           1. As to Plaintiffs claim against Defendant Richard Rott, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answee" or "No"



           2. As to Plaintiffs claim against Defendant Steven Heam, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answere,r "No"




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           3. As to Plaintiff's claim against Defendant David Santana, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answer "Yes" o r e



           4. As to Plaintiff's claim against Defendant Andrew Tallichet, did

     Plaintiff prove his claim by a preponderance of the evidence?

           AnsweS or "No"



           5. As to Plaintiff's claim against Defendant Anton Franks, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answee or "No"



           6. As to Plaintiff's claim against Defendant Rodney Vizzo, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answer "Yes" o e



           7. As to Plaintiff's claim against Defendant Chris Baker, did

     Plaintiff prove his claimxreponderance of the evidence?

           Answer "Yes" o ~


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           8. As to Plaintiffs claim against Defendant Jacob Sirmans, did

     Plaintiff prove his claim by a preponderance of the evidence?

           Answer "Yes" o r e



           If you found for all of the Defendants on Plaintiffs claims, then you

     should go no further. The foreperson should then sign and date the verdict

     form and return it to the Court.

           If you found for the Plaintiff against one or more Defendants, then

     please answer Questions 9 and 10.



           9. Has Plaintiff proven by a preponderance of the evidence that he

     should be awarded compensatory damages to compensate for physical

     and/or emotional injury?

           Answer "Yes" o e

                 If your answer is "Yes," what is the total amount of compensatory
                 damages?           $- - - - - -




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           10. Has Plaintiff proven by a preponderance of the evidence that

     one or more Defendants acted with malice or reckless indifference to

     Plaintiffs federally protected rights, such that punitive damages should

     be assessed against the Defendant(s)?

           As to Defendant Richard Rott: Answer   e      or "No" _ _ _ _ __

                 If your answer i.~ "Yes," in what amount from Defendant Richard
                 Rott?       $ Y- at), -
                                   1

           As to Defendant Steven Heam: Answere or "No" _ _ _ _ __

                 If your answer is "Yes," in what amount from Defendant Steven
                 Heam?                  ,
                                    $ 4,CX:O. -



           As to Defendant David Santana: Answer "Yes"    08------
                 If your answer is "Yes," in what amount from Defendant David
                 Santana?          $- - - - - -

           As to Defendant Andrew Tallichet: Answers or "No" _ _ _ __

                 If your answer is "Yes," in what amount from Defendant Andrew
                 Tallichet?         $-J..f--'-,L.-,'-=---.;.__---...




                 If your answer is "Yes," in what amount from Defendant Anton
                 Franks?            $ 4.0QJ.
                                       I
                                                 -
           As to Defendant Rodney Vizzo: Answer "Yes" o r B - - - - - -

                 If your answer is "Yes," in what amount from Defendant Rodney
                 Vizzo?             $- - - - - -

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              As to Defendant Chris Baker: Answer "Yes" or9• ______

                    If your answer is "Yes," in what amount from Defendant Chris
                    Baker?            $- - - - - -

              As to Defendant Jacob Sirmans: Answer "Yes" o e ______

                    If your answer is "Yes," in what amount from Defendant Jacob
                    Sirmans?          $- - - - - -
                                                            -
              So SAY WE ALL.


     DA TE:     I   \3JIWJ'O




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